             Case 1:20-cv-09201-LJL Document 3 Filed 11/05/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               11/5/2020
                                                                       :
AMI OLYMPIO, et al.,                                                   :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :     20-cv-09201 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
WILLIAM P. BARR, et al.,                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

LEWIS J. LIMAN, United States District Judge:

        It is hereby ORDERED that Plaintiffs’ counsel is to refile its complaint, Dkt. No. 1, and

request for issuance of summons, Dkt. No. 2, with minors listed by initials and not by their full

names. Attachment 1 to the complaint labelled Exhibit A-E is to be refiled with all personal

information redacted (such as date of birth, registration numbers, etc.), as well as full names of

minors redacted as to show only first initials. Any additional attachments or filings already made

should be refiled to adhere to these directives. In addition, all documents filed in the future on

ECF should adhere to these protocols.

        SO ORDERED.

Dated: November 5, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
